Case 2:02-Cr-20240-BBD Document 18 Filed 05/23/05 Page 1 of 2 Page|D 20

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Piaimifr, )
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VS' ) No. 02-0R20240~01

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eEoRGE coLEMAN, )
)
Defendant. )

 

ORDER RETURN|NG PASSPORT

 

This cause came on to be heard on the written motion of the Defendant, George
Coieman, without opposition by the Government, seeking return of Defendant
Co|eman’s U. S. passport

For good cause shown, the Court grants said motion.

|T |S, THEREFORE, ORDERED, ADJUDGEDl AND DECREED that |Vlr. George

Co|eman’s passport be returned to him or his attorney immediate|y.

 

 

J dge Berni e Dona|d

 

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 18 in
case 2:02-CR-20240 Was distributed by faX, mail, or direct printing on
May 24, 2005 to the parties listed.

 

 

Carroll L. Andre

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

